Case 23-13359-VFP   Doc 2686-2 Filed 11/13/23 Entered 11/13/23 18:25:36   Desc
                    Exhibit B - Retention Order Page 1 of 6




                            EXHIBIT B
Case
 Case23-13359-VFP
        23-13359-VFP
  GIBBONS      P.C.      Doc
                          Doc1424
                              2686-2 FiledFiled
                                            07/20/23
                                                11/13/23
                                                       Entered
                                                           Entered
                                                               07/20/23
                                                                    11/13/2317:37:27
                                                                                18:25:36   Desc
                                                                                              Desc
                                                                                                Main
  Robert K. Malone, Esq.   Exhibit B
                                   Document
                                     - Retention  Order
                                                  Page  1 Page
                                                          of 4  2 of 6
  Brett S. Theisen, Esq.
  Kyle P. McEvilly, Esq.
  One Gateway Center
  Newark, New Jersey 07102-5310
  Telephone: (973) 596-4500
  E-Mail: rmalone@gibbonslaw.com                                Order Filed on July 20, 2023
           btheisen@gibbonslaw.com                              by Clerk
           kmcevilly@gibbonslaw.com                             U.S. Bankruptcy Court
                                                                                District of New Jersey
  Proposed Special Counsel for the Official
  Committee of Unsecured Creditors

                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY

                                                                       (Hon. Vincent F. Papalia)
    In re:
                                                                       Chapter 11
                                                    1
    BED BATH & BEYOND, INC., et al.,
                                                                       Case No. 23-13359 (VFP)
                               Debtors.
                                                                       (Jointly Administered)

   ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF GIBBONS P.C.
     AS SPECIAL COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED
                 CREDITORS EFFECTIVE AS OF MAY 23, 2023

             The relief set forth on the following pages, numbered two (2) through four (4), is hereby

   ORDERED.




  DATED: July 20, 2023




  1
    The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
  Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
  of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath
  & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 650 Liberty
  Avenue, Union, New Jersey 07083.
Case
 Case23-13359-VFP
       23-13359-VFP Doc    Doc1424
                               2686-2 FiledFiled
                                             07/20/23
                                                 11/13/23
                                                        Entered
                                                           Entered
                                                                07/20/23
                                                                     11/13/23
                                                                           17:37:27
                                                                               18:25:36DescDesc
                                                                                            Main
                            Exhibit B
                                    Document
                                      - Retention Order
                                                   Page 2 Page
                                                          of 4 3 of 6
 Page 2 of 4
 Debtors: Bed Bath & Beyond, Inc., et al.
 Case No.: 23-13359 (VFP)
 Caption: Order Authorizing the Retention and Employment of Gibbons P.C. as Special Counsel
             to the Official Committee of Unsecured Creditors Effective as of May 23, 2023

             Upon the Application of the Official Committee of Unsecured Creditors for Entry of an

  Order Authorizing the Retention and Employment of Gibbons P.C. as Special Counsel Effective

  as of May 23, 2023 (the “Application”);2 and upon the Malone Declaration and the Mandell

  Declaration; and the Court finding that: (a) the Court has jurisdiction over this matter pursuant to

  28 U.S.C. §§ 157 and 1334, and the Standing Order of Reference from the United States District

  Court for the District of New Jersey dated July 23, 1984 and amended September 18, 2012; (b)

  this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (c) the Court having found that venue

  of these proceedings and the Application in this district is proper pursuant to 28 U.S.C. §§ 1408

  and 1409; and (d) the Court may enter a final order consistent with Article III of the United States

  Constitution; and the Court being satisfied that notice of the Application and the opportunity for a

  hearing on the Application was appropriate under the particular circumstances and no further or

  other notice need by given; and the Court being satisfied, based on the representations made in the

  Application and the Malone Declaration, that Gibbons does not hold or represent an adverse

  interest in connection with the Chapter 11 Cases, and that Gibbons is a “disinterested person” as

  such term is defined in section 101(14) of the Bankruptcy Code; and the Court having determined

  that the relief sought in the Application is in the best interests of the Committee, the Debtors, their

  creditors, and all parties in interest; and the Court having determined that the legal and factual

  bases set forth in the Application and the Malone Declaration establish just cause for the relief

  granted herein; and after due deliberation and good cause appearing therefor, it is hereby




  2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
Case
 Case23-13359-VFP
       23-13359-VFP Doc    Doc1424
                               2686-2 FiledFiled
                                             07/20/23
                                                 11/13/23
                                                        Entered
                                                           Entered
                                                                07/20/23
                                                                     11/13/23
                                                                           17:37:27
                                                                               18:25:36DescDesc
                                                                                            Main
                            Exhibit B
                                    Document
                                      - Retention Order
                                                   Page 3 Page
                                                          of 4 4 of 6
 Page 3 of 4
 Debtors: Bed Bath & Beyond, Inc., et al.
 Case No.: 23-13359 (VFP)
 Caption: Order Authorizing the Retention and Employment of Gibbons P.C. as Special Counsel
             to the Official Committee of Unsecured Creditors Effective as of May 23, 2023

           ORDERED THAT:

           1.    The Application is GRANTED as set forth herein.

           2.    Pursuant to sections 328(a) and 1103(a) of the Bankruptcy Code, the Committee is

  authorized to retain and employ Gibbons as special counsel, effective as of May 23, 2023.

           3.    Gibbons shall be compensated for legal services rendered to the Committee and

  reasonable expenses incurred in connection therewith in accordance with sections 330 and 331 the

  Bankruptcy Code, applicable Bankruptcy Rules and Local Rules, and any other orders of this

  Court. Gibbons also intends to make a reasonable effort to comply with the U.S. Trustee’s requests

  for information and additional disclosures as set forth in the UST Guidelines in connection with

  the Application and any interim and final fee applications to be filed by Gibbons in the Chapter 11

  Cases.

           4.    Gibbons is authorized to render professional services to the Committee as set forth

  in the Application, and shall use its best efforts to avoid unnecessary duplication of services

  provided by the Committee’s lead bankruptcy counsel, Pachulski, or any of the Committee’s other

  retained professionals in the Chapter 11 Cases.

           5.    Gibbons shall provide ten (10) business days’ notice to the Debtors and the U.S.

  Trustee before any increase in rates set forth in the Application or Malone Declaration and shall

  file such notice with the Court

           6.    The Committee and Gibbons are authorized to take all actions they deem necessary

  and appropriate to effectuate the relief granted pursuant to this Order in accordance with the

  Application.
Case
 Case23-13359-VFP
       23-13359-VFP Doc    Doc1424
                               2686-2 FiledFiled
                                             07/20/23
                                                 11/13/23
                                                        Entered
                                                           Entered
                                                                07/20/23
                                                                     11/13/23
                                                                           17:37:27
                                                                               18:25:36DescDesc
                                                                                            Main
                            Exhibit B
                                    Document
                                      - Retention Order
                                                   Page 4 Page
                                                          of 4 5 of 6
 Page 4 of 4
 Debtors: Bed Bath & Beyond, Inc., et al.
 Case No.: 23-13359 (VFP)
 Caption: Order Authorizing the Retention and Employment of Gibbons P.C. as Special Counsel
             to the Official Committee of Unsecured Creditors Effective as of May 23, 2023

         7.      The terms and conditions of this Order shall be immediately effective and

  enforceable upon its entry.

         8.      The Court shall retain jurisdiction with respect to all matters arising from or related

  to the interpretation or implementation of this Order.
      Case 23-13359-VFP           Doc 2686-2
                                      1424-1 Filed 11/13/23
                                                       07/20/23 Entered 11/13/23
                                                                            07/20/23 18:25:36
                                                                                     17:37:27               Desc
                                  Exhibit
                                     Notice
                                          B -ofRetention
                                                Order Entry
                                                         OrderPage
                                                                Page
                                                                   1 of6 1of 6
Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 23−13359−VFP
                                         Chapter: 11
                                         Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Bed Bath & Beyond Inc.
   650 Liberty Avenue
   Union, NJ 07083
Social Security No.:

Employer's Tax I.D. No.:
  11−2250488




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022

      Please be advised that on July 20, 2023, the court entered the following judgment or order on the court's
docket in the above−captioned case:

Document Number: 1424 − 1333
Order Granting Application to Employ Gibbons P.C. as Special Counsel for the Official Committee of Unsecured
Creditors (Related Doc # 1333). Service of notice of the entry of this order pursuant to Rule 9022 was made on the
appropriate parties. See BNC Certificate of Notice. Signed on 7/20/2023. (jf)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: July 20, 2023
JAN: jf

                                                                  Jeanne Naughton
                                                                  Clerk
